IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

CIVIL DIVISION
ERIN SKALDE AND JARROD
SKALDE, :
: NO.
Plaintiffs,
V. :
Civil Action

LEMIEUX GROUP, L.P., :

PITTSBURGH PENGUINS L.P., and : COMPLAINT
CLARK DONATELLI, :
: JURY TRIAL DEMANDED
Defendants.

 

INTRODUCTION
This case involves a major professional hockey team, the defendant
Pittsburgh Penguins, negligently retaining a known serial harasser, defendant Clark
Donatelli, as a head coach, allowing him to harass and sexually assault numerous
women including the plaintiff Erin Skalde, and then retaliating against Mrs.
Skalde’s husband, co-plaintiff Jarrod Skalde, after he reported the sexual assault.
Mr. Skalde and Mrs. Skalde seek to be made whole under federal and state law for

the emotional and economic harm they have suffered.
PARTIES

1. Erin Skalde resides in Niagara Falls, Ontario and is therefore a citizen
of Canada.

2. Jarrod Skalde, Mrs. Skalde’s husband, resides with her in Niagara
Falls, Ontario and is therefore also a citizen of Canada.

3. The Pittsburgh Penguins, L.P., is a Pennsylvania limited partnership
that operates the Pittsburgh Penguins professional hockey franchise of the National
Hockey League (NHL), with its principal place of business in Pittsburgh, and is
therefore a citizen of Pennsylvania.

4. Lemieux Group, L.P., is a Pennsylvania limited partnership with its
principal place of business in Pittsburgh, and owns and operates the Pittsburgh
Penguins, and is therefore also a citizen of Pennsylvania.

5. Clark Donatelli (Mr. Donatelli) is an adult individual who, upon
information and belief, is a resident of Narragansett, Rhode Island, and therefore a
citizen of Rhode Island. At relevant times, Mr. Donatelli was the Head Coach for
The Penguins’ minor league affiliate, the Wilkes-Barre/Scranton Penguins, where
he supervised Mr. Skalde and gained access to Mrs. Skalde for his sexual assault.

6. In this Complaint, the Pittsburgh Penguins, L.P. and the Lemieux
Group, L.P. may be collectively referenced as “The Pittsburgh Penguins” or “The

Penguins.”
JURISDICTION AND VENUE

7. This Court has diversity jurisdiction over the action pursuant to 28
U.S.C. § 1332(a)(2), as the plaintiffs are citizens of Canada and the defendants are
citizens of Pennsylvania and Rhode Island, and the plaintiffs seek damages in an
amount that exceeds $75,000.

8. This Court has personal jurisdiction over the two corporate defendants
because the Pittsburgh Penguins, L.P. and Lemieux Group L.P. carry on a
continuous and systematic part of their general businesses within the
Commonwealth by operating both a major league and a minor league hockey team
and other business operations in Pennsylvania.

9. The Court has personal jurisdiction over Mr. Donatelli because of his
ongoing transactions and employment in this Commonwealth, from which the
actions in this Complaint arose, and by causing harm or tortious injury in this
Commonwealth by an act or omission outside this Commonwealth.

10. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
because a substantial part of the events giving rise to the claims occurred in this

District.
FACTUAL ALLEGATIONS

11. Mr. Skalde played professional ice hockey for 17 years, including
stints with several NHL teams, and has coached at the professional level since
2007.

12. In 2013, Mr. Skalde was selected as the East Coast Hockey League’s
(ECHL) John Brophy Coach of the Year Award winner.

13. Inthe summer of 2017, The Penguins hired Mr. Skalde as a player
development coach.

14. In recognition of Mr. Skalde’s work ethic, professionalism, and ability
to coach and develop talent, The Penguins promoted him to assistant coach of the
Wilkes-Barre/Scranton Penguins, its American Hockey League (AHL) affiliate, in
2018 after just one season with The Penguins.

15. In this position, Mr. Skalde reported to Mr. Donatelli, who was head
coach of the Wilkes-Barre/Scranton Penguins and had been in that position for
several years.

16. The Penguins regularly receive state and local funding to support their
hockey operations, including through the Sports & Exhibition Authority of
Pittsburgh, a state entity which owns and operates PPG Paints Arena, the venue

where The Penguins play their home games.
17. Through this arrangement, and in consideration of the public benefit
conferred upon it, the Commonwealth paid The Penguins approximately
$6,000,000 in pre-development costs for the construction of PPG Paints Arena,
plus a lump sum of $2,000,000 in public funds.

18. In addition, on an ongoing basis the Commonwealth subsidizes The
Penguins by allowing it to receive all revenues from all events held at the publicly
owned venue.

19. On information and belief, The Penguins also receive other public
funding and subsidies in relation to its operation of professional hockey teams.

20. The Wilkes-Barre/Scranton Penguins also receive substantial state
subsidies and funding through the Luzerne County Convention Center Authority, a
state-created entity, which owns and operates Mohegan Sun Arena where the
Wilkes-Barre/Scranton Penguins play its home games.

SEXUAL ASSAULT AND BATTERY

21. The Wilkes-Barre/Scranton Penguins routinely travel to other cities
and across state lines in order to play professional hockey games.

22. During the hockey season, Mr. Donatelli and Mr. Skalde, as coaches,
would travel with the team. Players and coaches often brought their significant
others and families on the road to support the team, which The Penguins

encouraged and promoted by arranging for free tickets and providing other benefits
for these family members. As a result, Mr. Skalde would bring his wife, Mrs.
Skalde, to some of these out-of-town games.

23. As part of those games and travels, Mr. Donatelli would encourage
Mr. Skalde and Mrs. Skalde to join him for dinner and drinks, where he would
often continue to discuss coaching duties and responsibilities. Mr. Donatelli
intended such dinners and socializing to be part of the job and necessary to
maintain good relations between the head coach and his subordinate, and Mr.
Skalde knew and understood that such activities were part of the job.

24. Onor about November 11, 2018, after a road game in Providence,
Rhode Island, Mr. Donatelli invited Mr. Skalde and Mrs. Skalde to join him for
dinner.

25. After the evening out, and on the way back to the hotel, Mr. Skalde
stepped away from Mr. Donatelli and Mrs. Skalde for a few minutes to arrange a
ride back to the team hotel.

26. Once Mr. Donatelli was alone with Mrs. Skalde, he began to make
unwelcome sexual advances and physical contact with Mrs. Skalde. He put his
arm around Mrs. Skalde, called her “sexy,” and pulled her close to him.

27. Mrs. Skalde tried to fight off his sexual advances and told him to stop,
but to no avail, as Mr. Donatelli escalated his attack, including reaching his hands

into Mrs. Skalde’s shirt and repeatedly touching her breasts. He also tried to reach
his hands into her pants. Mrs. Skalde tried to pull away and kept telling Mr.
Donatelli to stop. She was in complete shock and began crying.

28. Mr. Skalde was not present when this first attack occurred and, not
aware that it had happened, he returned shortly thereafter with the car-ride service
to take them back to their hotel. Upon Mr. Skalde rejoining them, Mr. Donatelli
insisted that he (Mr. Donatelli) sit in the back seat with Mrs. Skalde for the ride,
and that Mr. Skalde sit in the front seat.

29. Not realizing the impropriety of Mr. Donatelli’s actions or intentions,
Mr. Skalde encouraged his wife to get in the back seat with Mr. Donatelli, per Mr.
Donatelli’s request, despite her resistance and objections, which Mr. Skalde did not
understand.

30. Still in shock and uncertain what to do in response to her husband’s
boss sexually assaulting her, Mrs. Skalde fearfully entered the backseat of the car,
trying to put as much distance between herself and Mr. Donatelli as she could, to
avoid him again sexually touching her.

31. Mr. Donatelli resumed his sexual assault and battery of Mrs. Skalde
once he had her in the darkness of the backseat. He not only groped her breasts
again, but also forced his hands down her pants and touched her vagina, despite her
efforts to push him away.

32. Mrs. Skalde was in shock and began crying again.
33. These attacks caused her severe emotional and physical injuries, pain
and distress.

34. Only later did Mr. Skalde find out what happened to his wife that
night, shaking him to the core to learn that he had sat unknowingly in the front seat
as his boss had sexually assaulted his wife.

DONATELLLI WAS A SERIAL OFFENDER

35. This was not an isolated incident for Mr. Donatelli, as he had
previously engaged in similar conduct in Charlotte, North Carolina, when he and
his staff were asked to leave a local restaurant after Mr. Donatelli uttered
obscenities at and engaged in lewd and aggressive behavior toward two women.

36. In another episode, at a social gathering in a Wilkes-Barre/Scranton
bar in November 2018, Mr. Donatelli sexually assaulted a friend of the Skaldes
who was visiting from out of town, pulling up her shirt and trying to grope her
breasts. When the incident was reported to Michele Donatelli, Mr. Donatelli’s
wife, she responded with words to the effect of “That’s just Clark being Clark.”

37. Mr. Skalde also became aware of reports of countless other episodes
of inappropriate conduct by Mr. Donatelli, sexual and otherwise, which apparently

The Penguins were aware of but did little or nothing to stop.
38. Mr. Donatelli’s misconduct, on information and belief, was well-
known by The Penguins’ management, but tolerated because he was a successful
coach.

MISCONDUCT REPORTED, DENIALS AND COVER-UP FOLLOW

39. Mr. Skalde and Mrs. Skalde did not immediately report Mr.
Donatelli’s sexual assault because they had never experienced such an attack and
were unsure what to do. It was obviously embarrassing and traumatic to Mrs.
Skalde. The Skaldes also were concerned that reporting the conduct could lead to
retaliation and create a crisis for the Wilkes-Barre/Scranton Penguins in the middle
of the season, causing harm to the team and its players through no fault of the
Skaldes.

40. On May 15, 2019, Mr. Skalde confronted Mr. Donatelli about the
sexual assault of his wife and his similarly unacceptable behavior toward other
women.

41. Mr. Donatelli claimed he was too drunk to remember the events of the
night in question, but six days later Mr. Donatelli met with Mr. Skalde and
apologized for his conduct. Thereafter, Mrs. Skalde admirably gathered the
strength to confront Mr. Donatelli about the sexual assault. Mr. Donatelli pledged

to Mr. and Mrs. Skalde that he would change his ways, seek help, and come
forward to The Penguins’ Assistant General Manager Billy Guerin with what he
had done.

42. After Mr. Donatelli failed to follow through with his commitments,
Mr. Skalde reported Mr. Donatelli’s conduct to Mr. Guerin at the NHL draft in
Vancouver, British Columbia on June 21, 2019.

43. Inresponse, Mr. Guerin assured Mr. Skalde that he would take care of
the situation.

44. Meanwhile, Mrs. Skalde continued to struggle with the emotional
trauma from the sexual assault and consulted a psychologist.

45. The fallout extended to Mr. Skalde and Mrs. Skalde’s relationship and
family life, causing extended and substantial harm and suffering.

INVESTIGATION OF THE COMPLAINT AND FOLLOWED BY
UNEQUAL TREATMENT AND RETALIATION

46. On June 25, 2019, Mr. Skalde met with an in-house attorney for The
Penguins to discuss the sexual assault Mr. Donatelli committed against his wife, as
well as other similar instances of Mr. Donatelli’s misconduct. Mr. Skalde made
clear that his wife continued to suffer from the assault and needed help and
counseling.

47. Atthe conclusion of the interview, Mr. Skalde was asked whether he
feared he would lose his job as a result of reporting Mr. Donatelli’s conduct, and

he answered that, “yes,” he did have that fear.

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48. Despite Mr. Skalde’s concerns of reprisal, The Penguins did not give
him any assurance that his job was safe or that he would not suffer retaliation as a
result of making this complaint.

49. The Penguins never contacted Mrs. Skalde to interview her about
what had happened, apologize for the assault by its coach, or provide any
expression of support or remorse.

50. Instead, The Penguins continued to require Mr. Skalde to work with
his wife’s assailant as the investigation continued.

51. Fueling Mr. Skalde’s anxiety, The Penguins failed to apprise him of
who within the organization was aware of Mr. Donatelli’s transgressions or the
status of the investigation, despite promises from The Penguins that the
investigator would do so.

52. Mr. Guerin later advised Mr. Skalde that The Penguins were
terminating Mr. Donatelli’s employment, but instructed him that knowledge of the
incident and termination had to be suppressed, cautioning that it “has to stay quiet
and can’t be let out.”

53. Following the investigation, The Penguins did not address the sexual
assault as an organization, arrange for sexual harassment training for its
employees, apologize to Mr. Skalde, or otherwise take measures to address the

harm caused or ensure that the toxic environment would be remediated.

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54. Mr. Skalde began to suffer retaliation as the new 2019-2020 AHL
season started two months later. In September, The Penguins stripped Mr. Skalde
of his power play duties, which were among the most important aspects of his job.
No explanation was provided. The other assistant coach did not experience a
similar reduction in his responsibilities.

55. In addition, the other assistant coach and the new head coach, Mike
Vellucci, received new computers from The Penguins, while Mr. Skalde was the
only coach left with an old and outdated one.

56. Despite this disparate treatment, Mr. Skalde continued his superb
performance through the premature end of the AHL season due to the Covid-19
pandemic — and did so without complaint.

57. In fact, Mr. Skalde earned praise from Mr. Vellucci, who told him he
had a great season and he wished to retain him as an assistant coach for the
following season.

TERMINATION OF EMPLOYMENT

58. Just two months later on May 5, 2020, The Penguins called Mr.
Skalde to inform him that his position was being eliminated due to cutbacks
necessitated by the Covid-19 pandemic, explaining that the decision was not
performance-based. Shortly thereafter, he was told he might be retained and

transferred to another coaching position as set forth below.

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59. The Penguins’ home office selected Mr. Skalde for its reduction in
force, even though Mr. Skalde had more coaching experience than the other
assistant coach at Wilkes-Barre/Scranton, J.D. Forrest, whom The Penguins not
only retained, but months later promoted to head coach of the Wilkes-
Barre/Scranton Penguins.

60. Of the 21 employees handling hockey operations for The Penguins,
team management selected only Mr. Skalde for termination — and told him it had
nothing to do with his performance, which was “great.” But, of course, Mr. Skalde
also happened to be the only one who had complained about the unlawful sexual
assault and battery of his wife by a Penguins’ coach.

61. About one week later, Mr. Vellucci called Mr. Skalde to gauge his
interest in taking the head coaching position for The Penguins’ ECHL affiliate, the
Wheeling Nailers, a team that competes on a lower professional tier than the
Wilkes-Barre/Scranton Penguins. Mr. Skalde told Mr. Vellucci that he was
interested in the opportunity.

62. Mr. Skalde was eminently qualified for the job, having won ECHL
Coach of the Year honors in 2013.

63. When Mr. Skalde contacted The Penguins’ Assistant General
Manager Jason Karmanos concerning the opportunity, Mr. Karmanos said only

that he would put Mr. Skalde’s “name in the hat” for the job. This contrasted with

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The Penguins’ established practice of preferring in-house candidates and placing
successful members of the coaching staff into available openings without requiring
them to interview or compete with outside candidates.

64. On May 27, 2020, Mr. Skalde was formally interviewed by The
Penguins for the Nailers head coaching position. Despite reports from some in the
Penguins’ organization that he had done well in the interview and should be
selected, The Penguins refused to place him in the new job.

65. Instead, The Penguins selected an outside candidate who had been
coaching in Europe and had no experience with or knowledge of The Penguins
culture and organization.

66. The Penguins later promoted Mr. Vellucci to a position with the NHL
team in Pittsburgh and promoted Mr. Forrest to head coach of the AHL team, but
refused to recall Mr. Skalde and offer him the remaining assistant coach vacancy
despite his qualifications for the position. With both promotions, The Penguins
touted their experience with and knowledge of the organization as a key to their
promotions, in contrast to the treatment of Mr. Skalde.

67. On information and belief, The Penguins knew before firing Mr.
Skalde that they intended to promote Mr. Vellucci and Mr. Forrest, which would

have left Mr. Skalde in his position as an assistant coach in Wilkes-Barre/Scranton.

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Nevertheless, The Penguins created a pretext to fire Mr. Skalde first, and in
retaliation for reporting the assault on his wife.
COUNT I
ASSAULT
ERIN SKALDE v. CLARKE DONATELLI

68. Plaintiff Erin Skalde re-alleges and incorporates by reference all
allegations in the preceding paragraphs.

69. Mr. Donatelli acted with the intent of putting Mrs. Skalde in
apprehension of imminent harm and offensive bodily contact when he reached out
to touch her after she resisted his sexual harassment, pulling her close to him, as
well as when he moved his hands toward Mrs. Skalde’s private parts on several
occasions on the evening of November 11, 2018, as summarized above.

70. As Mr. Donatelli intended, Mrs. Skalde did experience apprehension
of imminent harm and offensive bodily contact.

71. Asa direct and proximate cause of Mr. Donatelli’s actions, Mrs.
Skalde has suffered and will continue to suffer physical and emotional pain, mental
distress, and loss of enjoyment of life.

COUNT II
BATTERY
ERIN SKALDE v. CLARKE DONATELLI

72. Plaintiff Erin Skalde re-alleges and incorporates by reference all

allegations in the preceding paragraphs.

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73. Mr. Donatelli caused an unwanted, offensive physical contact when,
without Mrs. Skalde’s consent, he engaged in the contact summarized above,
pulled her close despite her resistance and telling him to stop, and groped her
sexually, causing her injury, on the evening of November 11, 2018, as summarized
above.

74. Asa direct and proximate cause of Mr. Donatelli’s actions, Mrs.
Skalde has suffered and will continue to suffer physical and emotional pain, mental
distress, and loss of enjoyment of life.

COUNT III
NEGLIGENT RETENTION OF AN EMPLOYEE
ERIN SKALDE vy. PITTSBURGH PENGUINS

75. Plaintiff Erin Skalde re-alleges and incorporates by reference all
allegations in the preceding paragraphs.

76. The Penguins were on notice of Mr. Donatelli’s inappropriate and
dangerous conduct toward women through numerous previous encounters between
Mr. Donatelli and other friends, family members and staff at the Wilkes-
Barre/Scranton Penguins.

77. This inappropriate conduct included sexually assaulting other women,
making crude and physical sexual advances on women while working for The

Penguins, having sexual relations with lower-level staff at Mohegan Sun Arena,

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becoming intoxicated and assaultive while attending events and road trips for The
Penguins, and using drugs and alcohol while working for The Penguins.

78. The Penguins were fully aware of this conduct, and that it put others,
especially women, at high risk of being sexually assaulted by him, but continued to
tolerate it and took no action to protect employees, family members or others who
came in contact with Mr. Donatelli through his powerful position as a head coach
for The Penguins.

79. The sexual assault and battery that Mrs. Skalde suffered was
reasonably foreseeable due to Mr. Donatelli’s repeated conduct along these lines.

80. Mr. Donatelli was acting in the scope of his employment as head
coach of the Wilkes-Barre/Scranton Penguins when he committed the sexual
assault of Mrs. Skalde because it occurred while on a road trip with his team and
coaching staff, in which post-game dinners with the head coach were part of the
job.

81. The assault occurred within the authorized time and space limits of
Mr. Donatelli’s employment because it took place during a social gathering while
the team was on a road trip, which Mrs. Skalde attended in support of her husband
and the team, as is custom for the families of coaches and players and was

encouraged by The Penguins by arranging for free tickets and other benefits for

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family members. The team plays away from home 38 times per season, and
families are encouraged to join the coaches on such trips.

82. Mr. Donatelli’s attendance at the team outing was actuated to serve
The Penguins because, as the head coach of the Wilkes-Barre/Scranton Penguins,
the gathering was intended for the coaching staff to share information and bond
together, with the inclusion of family members to strengthen those professional
bonds.

83. Because the Penguins knew about and tolerated Mr. Donatelli’s lewd
and inappropriate behavior around women, his sexual assault of Mrs. Skalde was
foreseeable and not in any way unexpected.

84. Asaresult of Defendants’ negligent retention of Mr. Donatelli, Mrs.
Skalde has suffered and will continue to suffer substantial damages and harm,
including without limitation, emotional distress with physical manifestations, loss
of enjoyment of life, and damage to her reputation and career.

COUNT IV
PENNSYLVANIA WHISTLEBLOWER LAW
JARROD SKALDE vy. PITTSBURGH PENGUINS

85. Plaintiff Jarrod Skalde re-alleges and incorporates by reference all

allegations in the preceding paragraphs.

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86. The Penguins are a limited partnership that receives money from a
public body to provide services in the Commonwealth and is therefore a covered
employer under the law.

87. Mr. Skalde reported, in good faith, the unlawful conduct of an
employee of The Penguins organization when he complained to a supervisory
employee, Mr. Guerin, about Mr. Donatelli’s sexual assault and battery of Mrs.
Skalde, as set forth more fully above.

88. The Penguins retaliated against Mr. Skalde for reporting this unlawful
conduct by shunning him and his wife, providing him with unequal treatment and
reducing his duties as a coach, and then terminating him, as summarized above.

89. The Penguins justified the organization’s one-man reduction in force
under the pretext of staffing cutbacks in light of the Covid-19 pandemic, despite
retaining all other Hockey Operations employees at the time, none of whom made
a complaint of unlawful and criminal conduct to management.

90. Despite a strong recommendation from Mr. Vellucci for an ECHL
head coaching position and The Penguins’ well-established preference to promote
from within the organization, Penguins’ management selected an external
candidate with no internal knowledge of the organization for the Wheeling job and

fired Mr. Skalde.

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91. Asaresult of Defendants’ retaliation, Mr. Skalde has suffered and
will continue to suffer substantial damages and harm, including without limitation,
loss of wages and benefits, loss of future earning power, emotional distress, loss of
enjoyment of life, damage to his reputation and career, and attorneys’ fees and
costs.

COUNT V
LOSS OF CONSORTIUM
JARROD SKALDE v. PITTSBURGH PENGUINS

92. Plaintiff Jarrod Skalde re-alleges and incorporates by reference all
allegations in the preceding paragraphs.

93. Mr. Skalde and Mrs. Skalde were married at the time Mr. Donatelli
sexually assaulted Ms. Skalde.

94. Mrs. Skalde suffered and continues to suffer long-running emotional
harm and pain as a result of Mr. Donatelli’s assault and battery of her, and the way
The Penguins treated her and her husband thereafter.

95. Mrs. Skalde’s emotional distress damaged Mr. Skalde’s marital
expectations as evidenced by a change in Mrs. Skalde’s behavior around their
family and other tremendous strains on their marriage.

96. Asadirect and proximate cause of Mr. Donatelli’s physical and

sexual assault and battery of Mrs. Skalde, and The Penguins’ response thereto, Mr.

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Skalde has suffered and will continue to suffer a loss of consortium with his wife,

emotional pain and mental distress, and loss of enjoyment of life.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs Erin Skalde and Jarrod Skalde request the

following relief:

A. An award of damages against Mr. Donatelli and The Penguins to Mrs.
Skalde for physical and emotional pain and mental suffering, loss of
enjoyment of life, costs of medical and psychological care, and loss of

income;

B. A judgment declaring that The Penguins violated Mr. Skalde’s rights

under the Pennsylvania Whistleblower Law;

C. | Anaward of damages to Mr. Skalde for his lost wages and benefits (back
pay and front pay), loss of earning power, emotional distress damages,
damage to his reputation, and loss of enjoyment of life as the result of the

defendants’ actions;

D. Anaward of punitive damages against each of the defendants for their

willful violation of the law;

E. An award of Mrs. Skalde’s and Mr. Skalde’s fees and costs in this action,

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including without limitation their reasonable attorneys’ fees and costs;
F, An award of pre-judgment and post-judgment interest; and
G. Such other relief as the Court deems just and appropriate.

DEMAND FOR JURY TRIAL
Plaintiffs hereby demand a jury trial on all causes of action and claims so

triable.

HOMANS PECK, LLC

By: _s/Michael D. Homans
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Dated: November 3, 2020 Attorneys for Plaintiffs Erin Skalde and
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